
By the Court.
— The application to the judge for an order to strike a jury to assess the damages in this case, is not such an act as is essentialfy requisite to be done under the seal of the coiporation. It appears to have been made by the head of the corporation, which we think sufficient. Nor do we think it necessary that all the previous acts required by the law to be done by the Turnpike Company, need bo set out in the order for striking the jury. It is suflicient if [*] they are proved on the motion to confirm the inquisition. — The jury have estimated the damages done Mr. Van Orden. As to the points required of them by the law, that they have gone further, and taken other injuries done him into the estimate, is what he cannot complain of. As to the fourth objection raised by the counsel for Van Orden, the Court are of opinion, that although the proceedings of the sheriff respecting the selecting the jury from the panel certified by the judge were irregular, yet as the *404proceedings, so far as it respects Van Orden were correct, and the proper jury estimated the injury done to him, and have made a proper inquisition as to him, we do not perceive the propriety of his complaining of injuries done to others, with whom he has not any privity or connection.
Inquisition confirmed.
